              Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 1 of 25




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
NATURAL RESOURCES DEFENSE
COUNCIL, CENTER FOR BIOLOGICAL
DIVERSITY, CONSUMER FEDERATION OF                       No.: 20-cv-9127 (JMF)
AMERICA, MASSACHUSETTS UNION OF
PUBLIC HOUSING TENANTS, PUBLIC
CITIZEN, and SIERRA CLUB,

Plaintiffs,

and

ASSOCIATION OF HOME APPLIANCE
MANUFACTURERS, and AIR-
CONDITIONING, HEATING &
REFRIGERATION INSTITUTE,

Plaintiff-Intervenors,

v.

JENNIFER M. GRANHOLM, as Secretary Of
The United States Department Of Energy, and
UNITED STATES DEPARTMENT OF
ENERGY,

Defendants.


STATES OF NEW YORK, CALIFORNIA,
COLORADO, CONNECTICUT, ILLINOIS,                       No.: 20-cv-9362 (JMF)
MAINE, MARYLAND, MINNESOTA, NEW
JERSEY, OREGON, VERMONT, AND
WASHINGTON, COMMONWEALTH OF
MASSACHUSETTS, PEOPLE OF THE STATE
OF MICHIGAN, DISTRICT OF COLUMBIA,
CITY OF NEW YORK, COMMONWEALTH
OF PENNSYLVANIA, AND STATES OF
NEVADA AND NEW MEXICO,

Plaintiffs,

and

ASSOCIATION OF HOME APPLIANCE
             Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 2 of 25




MANUFACTURERS, and AIR-
CONDITIONING, HEATING &
REFRIGERATION INSTITUTE,

Plaintiff-Intervenors,

v.

JENNIFER M. GRANHOLM, as Secretary Of
The United States Department Of Energy, and
UNITED STATES DEPARTMENT OF
ENERGY,

Defendants.
                                          CONSENT DECREE

           WHEREAS, on October 30, 2020, Plaintiffs Natural Resources Defense Council, Center

    for Biological Diversity, Consumer Federation of America, Massachusetts Union of Public

    Housing Tenants, Public Citizen, and Sierra Club (collectively “Public Interest Plaintiffs”) filed a

    complaint in the United States District Court for the Southern District of New York (“Court”)

    against Defendants Jennifer Granholm,1 in her official capacity as United States Secretary of

    Energy, and the United States Department of Energy (collectively “DOE”);

           WHEREAS, on November 9, 2020, Plaintiffs States of New York, California, Colorado,

    Connecticut, Illinois, Maine, Maryland, Minnesota, New Jersey, Oregon, Vermont, Washington,

    the Commonwealth of Massachusetts, the People of the State of Michigan, the District of

    Columbia, and the City of New York (collectively “State Plaintiffs”) filed a complaint in the

    Court against DOE;

           WHEREAS on January 29, 2021, State Plaintiffs filed an amended complaint to include

    as additional state plaintiffs the Commonwealth of Pennsylvania and the States of New Mexico

    and Nevada;

1
       Secretary Granholm is automatically substituted as a defendant for former Secretary Dan
Brouillette pursuant to Federal Rule of Civil Procedure 25(d).
                                                 2
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 3 of 25




       WHEREAS, on March 23, 2021, the Court entered a Stipulation and Order (the

“Intervention Stipulation”) permitting the Association of Home Appliance Manufacturers and

Air-Conditioning, Heating & Refrigeration Institute (collectively, “Plaintiff-Intervenors”) to

participate, with specified conditions, as Plaintiff-Intervenors in these two civil actions, Dkt.

No. 34, 20 Civ. 9127, Dkt. No. 53, 20 Civ. 9326;

       WHEREAS, Plaintiff-Intervenors filed a Complaint in Intervention in each of these

actions on March 26, 2021 Dkt. No. 35, 20 Civ. 9127, Dkt. No. 55, 20 Civ. 9326;

       WHEREAS, the Public Interest Plaintiffs, State Plaintiffs, and Plaintiff-Intervenors

(collectively, the “Plaintiffs”) have alleged that DOE has failed to publish final rules concerning

energy conservation standards for 25 categories of consumer products and industrial equipment

by the respective deadlines specified by the Energy Policy and Conservation Act, as amended

(“EPCA”), 42 U.S.C. §§ 6291–6317;

       WHEREAS, DOE signed a final rule concerning energy conservation standards for one

of these categories, fluorescent lamp ballasts, on December 4, 2020, which was published in the

Federal Register at 85 Fed. Reg. 81,558 (Dec. 16, 2020);

       WHEREAS, DOE signed a final rule concerning energy conservation standards for a

second of these categories, small electric motors, on January 6, 2021, which was published in the

Federal Register at 86 Fed. Reg. 4885 (Jan. 19, 2021);

       WHEREAS, DOE signed a final rule concerning energy conservation standards for a

third of these categories, evaporatively-cooled commercial package air conditioners and water-

cooled commercial package air conditioners, on July 8, 2021, which was published in the Federal

Register at 86 Fed. Reg. 37,001 (July 14, 2021);

       WHEREAS, DOE signed a final rule concerning energy conservation standards for a

fourth of these categories, metal halide lamp fixtures, on October 20, 2021, which was published
                                                 3
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 4 of 25




in the Federal Register at 86 Fed. Reg. 58,763 (Oct. 25, 2021);

       WHEREAS, DOE signed a final rule concerning energy conservation standards for a fifth

of these categories, direct heating equipment, on November 23, 2021, which was published in the

Federal Register at 86 Fed. Reg. 66,403 (Nov. 23, 2021);

       WHEREAS, with respect to the remaining 20 categories of consumer products and

industrial equipment that are the subject of the Public Interest Plaintiffs’ complaint and the State

Plaintiffs’ amended complaint, EPCA prescribes deadlines and other requirements for final rules

concerning energy efficiency standards; and

       WHEREAS, the Public Interest Plaintiffs, the State Plaintiffs, the Plaintiff-Intervenors,

and DOE (each a “Party” and collectively the “Parties”) agree that it is in the public interest,

and the interest of judicial economy, to resolve claims without further litigation, as provided

herein, and that this Consent Decree is a fair, just, sufficient, and equitable resolution of the

claims asserted by the Plaintiffs;

       NOW THEREFORE, it is hereby ORDERED, ADJUDGED, and DECREED as follows:

       1.      The Court has jurisdiction over the claims set forth in the Public Interest

Plaintiffs’ complaint and the State Plaintiffs’ amended complaint and the Plaintiff-Intervenors’

Complaints in Intervention. The Court has jurisdiction to enter this Consent Decree and,

pursuant to the Consent Decree, has jurisdiction to order the relief contained herein.

       2.      These two civil actions are consolidated for the purpose of entry of this Consent

Decree and any further proceedings in these matters. All future filings shall be made only in

Natural Resources Defense Council v. Granholm, 20 Civ. 9127.

       3.      This Consent Decree applies to, is binding upon, and inures to the benefit of the

Parties (and their successors, assigns, and designees).

       4.      For each of the 20 categories of consumer products and industrial equipment
                                                  4
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 5 of 25




listed in the below table, DOE shall sign and post on DOE’s publicly accessible website the

document that, when effective, represents a final agency action pertaining to energy conservation

standards (hereinafter, “Agency Action Document”) for that particular category of consumer

product or industrial equipment no later than the corresponding deadline listed in the below

table:

                       Product Category                                     Deadline
 Computer Room Air Conditioners                                   June 30, 2023
 Pool Heaters                                                     June 30, 2023
 Commercial Water Heaters                                         July 30, 2023
 Room Air Conditioners                                            July 30, 2023
 Dedicated Outdoor Air Systems                                    August 31, 2023
 Microwave Ovens                                                  August 31, 2023
 Variable Refrigerant Flow Air Conditioners and Heat Pumps        August 31, 2023
 Non-Weatherized and Mobile Home Gas Furnaces                     September 30, 2023
 Residential Clothes Dryers                                       February 29, 2024
 Residential Refrigerators and Freezers                           December 30, 2023
 Conventional Cooking Products                                    January 31, 2024
 Residential Clothes Washers                                      February 29, 2024
 Electric Motors                                                  April 30, 2024
 Residential Water Heaters                                        April 30, 2024
 Distribution Transformers                                        June 30, 2024
 Residential Dishwashers                                          June 30, 2024
 Furnace Fans                                                     October 31, 2024
 Oil Furnaces and Weatherized Gas Furnaces                        October 31, 2024
 Walk-In Coolers and Freezers                                     November 30, 2024
 Commercial Refrigeration Equipment                               November 30, 2024




                                               5
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 6 of 25




       5.         For purposes of Paragraph 4, an Agency Action Document is a rulemaking

document prepared by DOE under EPCA that, upon that document’s effective date, either:

(a) amends energy conservation standards; (b) establishes new energy conservation standards; or

(c) conveys DOE’s determination to not amend energy conservation standards.

       6.         Further, for purposes of Paragraph 4, the posting on DOE’s publicly accessible

website of an Agency Action Document, including any Agency Action Document subject to the

error correction procedures at 10 C.F.R. §§ 430.5, 431.3 (or any subsequent amendments

thereto), satisfies DOE’s obligation to “sign and post . . . the document that, when effective,

represents a final agency action pertaining to energy conservation standards,” provided that:

            (a)      For any Agency Action Document not subject to the error correction

procedures at 10 C.F.R. §§ 430.5, 431.3 (or any subsequent amendments thereto), DOE transmits

the Agency Action Document within 30 days of its signing to the Office of the Federal Register

(“OFR”) for publication and DOE does not take any action that would delay or preclude

publication of the transmitted document in the Federal Register (other than as necessary to

correct any typographical errors or other errors of form); and

            (b)      For any Agency Action Document that is subject to the error correction

procedures at 10 C.F.R. §§ 430.5, 431.3 (or any subsequent amendments thereto), DOE transmits

the Agency Action Document (or an amended version thereof if necessary changes are identified

during the error correction process) to the OFR for publication within 75 days of signing the

Agency Action Document, and DOE does not take any action that would delay or preclude

publication of the transmitted document in the Federal Register (other than as necessary to

correct any typographical errors or other errors of form).

       7.         If, subsequent to the entry of this Consent Decree by the Court, there is adopted

an amendment to Standard 90.1 as published by the American Society of Heating, Refrigerating
                                             6
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 7 of 25




and Air-Conditioning Engineers (“ASHRAE”) that would, for any category of industrial

equipment listed in Paragraph 4, trigger the process required by 42 U.S.C. § 6313(a)(6)(A)–(B),

then the deadline for the affected category of industrial equipment shall be the later of: (a) the

date listed in Paragraph 4; or (b) the date calculated pursuant to 42 U.S.C. §§

6313(a)(6)(A)(ii)(I)–(II) and 6313(a)(6)(B)(i), unless the Parties agree to a different deadline in

accordance with the modification procedures in Paragraph 11 of this Consent Decree.

        8.         If, subsequent to the entry of this Consent Decree by the Court, there is a

change in statute or a judicial decision of any court that DOE concludes would preclude DOE

from completing a document required by Paragraph 4 using the factual analysis, legal

rationale, or rulemaking procedures DOE was intending for that rulemaking, the following

procedures shall apply:

             (a)      Within 30 days of the enactment of such a statute, or within 30 days of the

issuance of the judicial decision by a court, DOE shall transmit to the Public Interest Plaintiffs,

State Plaintiffs, and Plaintiff-Intervenors a written notice that: (i) identifies the specific change

in statute or judicial decision; (ii) identifies which rulemaking(s) of the categories of consumer

products and industrial equipment in Paragraph 4 are impacted by this change in statute or

judicial decision; (iii) briefly summarizes how the change in statute or judicial decision impacts

DOE’s ability to complete the rulemaking by the deadline specified in Paragraph 4; and (iv)

proposes a substitute deadline for each category of consumer products and industrial equipment

identified in the notice.

             (b)      Within 15 days of receiving the notice required by Subparagraph 8(a), the

Parties shall meet and confer in good faith about the need for, and selection of, a substitute

deadline for each category of consumer products and industrial equipment identified in DOE’s

notice. If the Parties are able to agree on a substitute deadline, the Parties shall amend the
                                                   7
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 8 of 25




deadline in Paragraph 4 in accordance with the modification procedures for stipulations in

Paragraphs 11 and 12 of this Consent Decree.

            (c)      If, 30 days after initiating the meet-and-confer process required by

Subparagraph (b), the Parties are unable to agree on the need for, or selection of, a substitute

deadline, DOE may file with the Court a motion to modify the relevant deadline in Paragraph 4.

If the Parties disagree on the need for a substitute deadline for any category of consumer

products and industrial equipment identified in DOE’s motion, or agree on the need for a

substitute deadline but disagree on the date of the substitute deadline, the Court shall, after

consideration of the motion and any response filed by Public Interest Plaintiffs, State Plaintiffs,

or Plaintiff-Intervenors, and any reply by DOE, decide whether a substitute deadline is

warranted and, if so, decide what the substitute deadline will be. For purposes of this Paragraph,

the Parties stipulate that at the time of entering this Consent Decree, the Parties are not aware of

specific legislation or cases that they currently anticipate would result in a change of law that

would make DOE’s compliance with any deadline in Paragraph 4 substantially more onerous or

unworkable; accordingly, no Plaintiff may oppose the relief sought by DOE in its motion on the

ground that any changed circumstances were anticipated at the time the Parties entered into this

Consent Decree. Plaintiffs otherwise preserve all grounds or bases for opposition to any motion

under this Subparagraph.

            (d)      Any deadline established pursuant to Subparagraphs (b) and (c) may

subsequently be modified in accordance with the modification procedures for stipulations in

Paragraphs 11 and 12 of this Consent Decree.

       9.         If DOE signs and posts an Agency Action Document for a category of

consumer products or industrial equipment required by Paragraph 4 by the deadline


                                                  8
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 9 of 25




applicable to that category provided by this Consent Decree, and the final agency action

pertaining to energy conservation standards represented by that Agency Action

Document is subsequently determined by a final judgment of any court to be legally

invalid either in whole or in part and the rulemaking is remanded in whole or in part to

DOE for further action, DOE shall not be in violation of its obligation to “sign and post”

the Agency Action Document by the deadline applicable to that category provided by

Paragraph 4 of this Consent Decree. However, the Plaintiffs retain their right to seek

appropriate relief, including but not limited to the establishment of additional deadlines,

either by motion or by commencing new litigation pursuant to EPCA. DOE reserves all

defenses to such motion or separate action.

       10.     Nothing in this Consent Decree precludes DOE from signing and posting an

Agency Action Document for a category of consumer products or industrial equipment prior to

the respective deadline provided in Paragraph 4.

       11.     Notwithstanding any other provisions of this Consent Decree, the terms of this

Consent Decree may be modified either by: (a) written stipulation of the Parties approved by the

Court; (b) as provided in Paragraph 12 below; or (c) by the Court upon a motion made pursuant

to the Federal Rules of Civil Procedure by DOE, the Public Interest Plaintiffs, or the State

Plaintiffs, and upon consideration of any response by a non-moving Party and reply by the

moving Party; provided, however, that this Consent Decree may not be modified to: (i) establish

new deadlines for any category of consumer products or industrial equipment that is not listed in

Paragraph 4; (ii) establish additional rulemaking deadlines for any category of consumer

products or industrial equipment listed in Paragraph 4 if the applicable deadline provided by this

Consent Decree has been satisfied by DOE; or (iii) establish a deadline for any category of

consumer products or industrial equipment earlier than the deadline provided in Paragraph 4.
                                                 9
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 10 of 25




        12.     If DOE, the Public Interest Plaintiffs, and the State Plaintiffs are able to reach a

stipulated agreement on terms modifying this Consent Decree, those parties (the “Requesting

Parties”) may submit their stipulation to the Court and request that it be approved. However, at

least 14 days before filing any such written stipulation with the Court, the Requesting Parties

shall provide a copy of such stipulation to the Plaintiff-Intervenors for their review. After that

14-day period, the Requesting Parties may file the stipulation with the Court. Plaintiff-

Intervenors, unless they have consented to the stipulation in writing, may file a response to the

stipulation within 10 days and participate in any hearing regarding approval or entry of the

stipulation.

        13.     Prior to filing any motion to modify this Consent Decree under Paragraph 11(c)

(except for a motion filed pursuant to Subparagraph 8(c)), the Party seeking the modification

shall first transmit to the other Parties a written notice that: (i) identifies the requested

modification; (ii) briefly summarizes the reason(s) justifying the modification; and (iii) requests

consent to the modification. Within 14 days of receiving this notice, the receiving Parties shall

each notify the requesting Party whether it consents to the modification or instead requests that

the Parties confer about the requested modification. If any Party requests to confer, the Parties

shall, within 15 days of such request, meet and confer in good faith with the objective of

reaching agreement before any motion to modify is filed with the Court. If, after 30 days of

initiating the meet-and-confer process, the Parties are unable to agree, the Party seeking

modification may file a motion to modify with the Court, to which any non-moving Party may

respond. Nothing in this Paragraph waives or limits any argument that any Party may make to

the Court in support of, or in opposition to, such motion. The deadlines set forth in this

Paragraph may be modified by agreement of the Parties without Court approval.

        14.     The Court shall retain jurisdiction to interpret, implement, and effectuate
                                                  10
         Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 11 of 25




compliance with this Consent Decree, to resolve any disputes thereunder, and to consider any

requests for costs of litigation (including a request for reasonable attorneys’ fees the Public

Interest Plaintiffs or the State Plaintiffs).

        15.     Prior to filing any motion to interpret, implement, or enforce the Consent

Decree, the Party intending to file such motion shall first transmit to the other Parties a written

notice that identifies the relief desired and briefly summarizes the reason(s) justifying the relief

sought. Within 15 days of receiving this notice, the Parties shall meet and confer in good faith

with the objective of reaching agreement before any motion is filed with the Court. If, after 30

days of initiating the meet-and-confer process, the Parties are unable to agree, the Party seeking

relief may file a motion with the Court, to which any non-moving Party may respond. Nothing

in this Paragraph waives or limits any argument that any Party may make to the Court in

support of, or in opposition to, such motion. The deadlines set forth in this Paragraph may be

modified by agreement of the Parties without Court approval.

        16.     No motion or other proceeding seeking to interpret, implement, or enforce this

Consent Decree or for contempt of Court shall be properly filed unless the moving Party has

complied with the requirements of Paragraph 15.

        17.     The Parties acknowledge and agree that the obligations imposed upon DOE under

this Consent Decree can only be undertaken using appropriated funds legally available for such

purpose and that DOE’s actions under this Consent Decree must be consistent with applicable

law. No provision of this Consent Decree requires, nor shall be interpreted or construed as

requiring, that DOE take any action that is inconsistent with or in contravention of: (a) the

Antideficiency Act, 31 U.S.C. § 1341, or any other applicable fiscal or procurement law or

regulation; (b) the Administrative Procedure Act, 5 U.S.C. §§ 551–559, 701–706; (c) EPCA,

42 U.S.C. §§ 6291–6317; or (d) any other applicable provision of law.
                                              11
          Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 12 of 25




       18.     Nothing in this Consent Decree shall be interpreted or construed as limiting or

modifying any discretion accorded to DOE by any laws, including EPCA, 42 U.S.C. §§ 6291–

6317, the Administrative Procedure Act, 5 U.S.C. §§ 551–559, 701–706, and any other statutes,

regulations, or principles of administrative law, in taking the actions that are the subject of this

Consent Decree—including, but not limited to: (a) the substance of any Agency Action

Document required by Paragraph 4; (b) the factors to be considered in proposing or adopting any

Agency Action Document required by Paragraph 4; or (c) the conduct of rulemakings for any

category of covered products or industrial equipment that is not the subject of this Consent

Decree.

       19.     The Parties acknowledge and agree that the terms of this Consent Decree and the

settlement provided for herein are intended to compromise disputed claims and to avoid

litigation, and do not constitute and shall not be construed as an admission of any wrongdoing,

misconduct, or liability on the part of DOE.

       20.     The Parties agree that this Consent Decree constitutes a complete and final

settlement of all claims asserted by the Plaintiffs in these consolidated actions against DOE. The

Plaintiffs therefore discharge and covenant not to sue the United States, including DOE, for such

claims; however, the Parties agree that this discharge and covenant not to sue shall not apply to

any claim that may arise if any final agency action pertaining to energy conservation standards

represented by an Agency Action Document required by Paragraph 4 is vacated or withdrawn.

       21.     Nothing in this Consent Decree shall be interpreted or construed as precluding

any Plaintiff from participating in any of the rulemakings for the categories of consumer

products and industrial equipment listed in Paragraph 4, including, but not limited to, submitting

comments on proposed rules, participating in public meetings, and challenging pursuant to 42

                                                  12
          Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 13 of 25




U.S.C. §§ 6306 or 6316 any final agency action pertaining to energy conservation standards

represented by an Agency Action Document required by Paragraph 4.

       22.     Nothing in this Consent Decree shall be construed to confer upon this Court

jurisdiction to review any final agency action pertaining to energy conservation standards

represented by an Agency Action Document signed and posted by DOE pursuant to this Consent

Decree.

       23.     Nothing in this Consent Decree shall be interpreted or construed as admitting

any issue of fact or law, or limiting or waiving any claims, defenses, or arguments the Parties

may have related to any final agency action pertaining to energy conservation standards

represented by an Agency Action Document required by Paragraph 4 and taken by DOE

pursuant to this Consent Decree.

       24.     Upon the completion of DOE’s obligations under Paragraph 4 and the publication

of all subject final actions in the Federal Register, DOE may move to have this Consent Decree

terminated. The Plaintiffs shall have 30 days in which to respond to such motion, unless the

Parties stipulate to a longer time for Plaintiffs to respond.

       25.     The deadline for filing a motion for costs of litigation (including attorneys’ fees)

for activities performed prior to entry of the Consent Decree is extended until 90 days after this

Consent Decree is entered by the Court. Nothing in this Paragraph shall be construed as an

admission or concession by DOE that either the Public Interest Plaintiffs or the State Plaintiffs

are entitled to or eligible for recovery of any costs or attorneys’ fees.

       26.     Public Interest Plaintiffs and State Plaintiffs reserve the right to seek additional

costs of litigation, including attorneys’ fees, incurred after the entry of this Consent Decree and

arising from the need to enforce or defend against efforts to modify the Decree’s terms or the

schedule in Paragraph 4, or for any other unforeseen continuation of this action. DOE reserves
                                                13
        Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 14 of 25




the right to oppose any such request. For purposes of this Paragraph, costs of litigation do not

include costs or attorneys’ fees associated with Public Interest Plaintiffs’ or State Plaintiffs’

participation in any administrative proceedings contemplated by this Consent Decree or

participation in any petition to a court to review any final agency action pertaining to energy

conservation standards represented by an Agency Action Document required by Paragraph 4 and

completed pursuant to this Consent Decree.

       27.     This Consent Decree constitutes the entire agreement among the Parties as to all

claims raised by Plaintiffs in their respective complaints, and supersedes all prior agreements,

representations, warranties, statements, promises, covenants, and understandings, whether oral

or written, express or implied, with respect to the subject matter hereof. Except as expressly

stated in this Consent Decree, nothing in this Consent Decree expands or contracts the rights of

Plaintiff-Intervenors pursuant to the Intervention Stipulation, and the Parties reserve all

arguments as to Plaintiff-Intervenors’ constitutional, statutory, or prudential standing.

       28.     The Parties expressly understand and agree that this Consent Decree was jointly

drafted by the Parties, and that any and all rules of construction providing to the effect that an

ambiguity in a document is to be construed against the drafting party shall be inapplicable in any

dispute concerning the terms, meaning, or interpretation of this Consent Decree.

       29.     Each of the undersigned representatives of the Parties certify that such individual

is authorized by the Party to enter into this Consent Decree and to bind such Party to comply

with the terms of this Consent Decree.

       30.     This Consent Decree may be executed in one or more counterparts, each of which

shall be deemed an original, and all of which together constitute one and the same instrument,

and photographic, facsimile, or digital copies of such signed counterparts may be used in lieu of

the original. The execution of one counterpart by any Party shall have the same force and effect
                                                14
        Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 15 of 25




as if that Party had signed all other counterparts.

       31.     Any notice required or made with respect to this Consent Decree shall be in

writing and effective upon receipt. Any notice required or made pursuant to this Consent Decree

shall be sent via electronic mail or certified mail to the following contact persons:

               For Public Interest Plaintiffs:

               Jared Knicley
               Natural Resources Defense Council
               1152 15th Street NW, Suite 300
               Washington, DC 20005
               jknicley@nrdc.org

               Joseph Vukovich
               Natural Resources Defense Council
               1152 15th Street NW, Suite 300
               Washington, DC 20005
               jvukovich@nrdc.org

               Timothy Ballo
               Earthjustice
               1001 G Street NW, Suite 1000
               Washington, DC 20001
               tballo@earthjustice.org

               For State Plaintiffs:

               Lisa Kwong
               Office of the New York State
               Attorney General
               The Capitol
               Albany, New York 12224
               Lisa.Kwong@ag.ny.gov

               Timothy Hoffman
               Office of the New York State
               Attorney General
               The Capitol
               Albany, New York 12224
               Timothy.Hoffman@ag.ny.gov




                                                  15
        Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 16 of 25




               For Plaintiff-Intervenors:

               Kevin Ainsworth
               Mintz Levin Cohn Ferris Glovsky and Popeo, P.C.
               666 Third Avenue
               New York, NY 10017
               +1.212.692.6745
               KAinsworth@mintz.com

               Jennifer Cleary
               Association of Home Appliance Manufacturers
               1111 19th Street NW, Suite 402
               Washington, DC 20036
               202.872.5955 x314
               Jcleary@aham.org

               Marie Carpizo
               Air-Conditioning, Heating, and Refrigeration Institute
               2311 Wilson Blvd., Suite 400
               Arlington, VA 22201
               703-600-0308
               MCarpizo@ahrinet.org

               For DOE:

               Environmental Protection Unit
               Attn: AUSA Anthony J. Sun
               United States Attorney’s Office
               Southern District of New York
               86 Chambers St., Third Floor
               New York, NY 10007

A Party may alter contact persons or designate additional contact persons under this Paragraph

by written notice to the other Parties.

       32.     Nothing in this Consent Decree shall be construed as making any person or entity

not executing this Consent Decree a third-party beneficiary to this Consent Decree.

       33.     This Consent Decree shall become effective upon the date of its entry by the

Court. If for any reason the Court should decline to approve this Consent Decree in the form

presented, this agreement is voidable at the sole discretion of any Party and the terms of the

proposed Consent Decree may not be used as evidence in any litigation between the Parties.
                                            16
          Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 17 of 25
The Clerk of Court is directed to (1) substitute Secretary Granholm for former Secretary Dan Brouillette as
Defendant in both cases pursuant to Federal Rule of Civil Procedure 25(d); (2) consolidate 20-CV-9127
and 20-CV-9362 under 20-CV-9127; and (3) close both cases. Any pending motions are moot. All
conferences are vacated.

    SO ORDERED on this 20        day of September                 , 2022.



                                                       JESSE M. FURMAN
                                                       United States District Judge


    For Natural Resources Defense Council and Public Citizen:

          /s/ Jared E. Knicley2
          Jared E. Knicley, admitted pro hac vice
          Joseph Vukovich, admitted pro hac vice
          Natural Resources Defense Council
          1152 15th Street, NW, Suite 300
          Washington, DC 20005
          (202) 513-6242
          jknicley@nrdc.org
          jvukovich@nrdc.org

    For Center for Biological Diversity, Consumer Federation of America, Massachusetts
    Union of Public Housing Tenants, and Sierra Club:

          /s/ Timothy Ballo
          Timothy Ballo, admitted pro hac vice
          Earthjustice
          1001 G Street NW, Suite 1000
          Washington, DC 20001
          (202) 745-5209
          tballo@earthjustice.org

    For the State of New York:

         LETITIA JAMES
         Attorney General

          /s/ Lisa S. Kwong
          LISA S. KWONG
          TIMOTHY HOFFMAN
          Assistant Attorneys General
          Office of the Attorney General

2
 Pursuant to S.D.N.Y. ECF Rule 8.5(b), all parties have granted consent to electronically sign this
consent decree.
                                                17
        Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 18 of 25




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                                          18
        Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 19 of 25




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       Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 20 of 25




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                                             20
       Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 21 of 25




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                                             21
       Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 22 of 25




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                                              22
       Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 23 of 25




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                                            23
       Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 24 of 25




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                                           24
      Case 1:20-cv-09127-JMF Document 70 Filed 09/20/22 Page 25 of 25




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                                         25
